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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 JOSEPH HARTSOCK,

               Plaintiff,

                      v.                          CAUSE NO. 3:22-CV-303-JD-MGG

 WESTVILLE CORRECTIONAL
 FACILITY WARDEN,

               Defendants.

                                 OPINION AND ORDER

      The Defendant, by counsel, filed a second motion asking for more time to

respond to the preliminary injunction motion because he recently received additional

information and needs to obtain a signature for a declaration. Good cause having been

shown, the motion (ECF 27) is GRANTED and the deadline ENLARGED to June 3,

2022. No further enlargements of this deadline will be granted. The defendant must file

a response “describing/explaining how Joseph Hartsock is being protected from attack

by other inmates as required by the Eighth Amendment.” ECF 17 at 4. If additional

briefing or supporting materials are anticipated, the defendant needs to also file a

motion asking for time to supplement his response.

      SO ORDERED on May 31, 2022


                                                s/ Michael G. Gotsch, Sr.
                                                Michael G. Gotsch, Sr.
                                                United States Magistrate Judge
